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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DAVID H. GOODMAN, on behalf of                      §
himself and derivatively on behalf of               §
KEY INGREDIENT CORPORATION,                         §
                                                    §
                       Plaintiff,                   §
                                                    §
   v.                                               §         Civil Action No. 1:12-cv-01169-JRN
                                                    §
PHILIPPE CREVOISIER, CHRISTOPHE                     §
BOUZIGUES, KEVIN CAMPHUIS, SEB                      §
S.A.S. d/b/a SAS SEB, SEB S.A. d/b/a GROUPE         §
SEB, and SEB ALLIANCE d/b/a GROUPE SEB              §
ALLIANCE,                                           §
                    Defendants.                     §

                    AGREED MOTION TO APPROVE SETTLEMENT


        Plaintiff and Defendants, being all the parties to this action, file this agreed motion to

approve settlement and would respectfully show:

        1.     Rule 23.1 of the Federal Rules of Civil Procedure requires the Court’s approval of

the settlement of a derivative action. This action is a derivative action, brought on behalf of Key

Ingredient Corporation.

        2.     Key Ingredient has only two shareholders:          Plaintiff David Goodman and

Defendant SEB Alliance.

        3.     With the assistance of mediator Patrick Keel, Plaintiff and Defendants have

reached a settlement, conditioned upon the Court’s approval under Rule 23.1. Among other

terms, the settlement contemplates (i) a payment to Plaintiff, (ii) assignment by Plaintiff to Key

Ingredient Corporation of all Plaintiff’s stock in Key Ingredient Corporation, (iii) dismissal of

the lawsuit, (iv) releases and (v) confidentiality. Following the approval of this settlement, and


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upon the occurrence of certain undertakings of the Parties, the sole shareholder of Key Ingredient

Corporation would be SEB Alliance.

       4.      Because of the covenant of confidentiality, but in light of the circumstance that all

shareholders have notice of the proposed settlement and have expressly agreed to the proposed

settlement, the parties ask that the Court not require the terms of the settlement to appear of

record. The parties will furnish the Court in camera such information, if any, as the Court may

request concerning the economic terms of the settlement.

       5.      If the Court grants approval, then the parties will file an agreed motion to dismiss

promptly.

       6.      A suggested form of order is filed with this motion.



                                      Respectfully submitted,


                                      /s/ Matthew C. Powers
                                      John J. McKetta, III
                                      Texas State Bar No. 13711500
                                      mmcketta@gdhm.com
                                      Matthew C. Powers
                                      Texas State Bar No. 24046650
                                      mpowers@gdhm.com
                                      Graves, Dougherty, Hearon & Moody, P.C.
                                      401 Congress Avenue, Suite 2200, Austin, TX 78701
                                      P.O. Box 98, Austin, TX 78767
                                      (512) 480-5616
                                      (512) 480-5816 (facsimile)

                                      ATTORNEYS FOR PLAINTIFF




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                      /s/ Jordan M. Webster (with permission by
                                            Matthew C. Powers)
                      Michael D. Marin
                      Boulette & Golden, LLP
                      2801 Via Fortuna, Suite 530
                      Austin, Texas 78746
                      (512) 732-8924
                      (512) 732-8905 (fax)
                      mmarin@boulettegolden.com

                      Gretchen L. Jankowski
                      Jordan M. Webster
                      Buchanan Ingersoll & Rooney PC
                      One Oxford Centre, 20th Floor
                      301 Grant Street
                      Pittsburgh, PA 15219
                      (412) 562-8800
                      (412) 562-1041 (fax)
                      gretchen.jankowski@bipc.com
                      jordan.webster@bipc.com

                      ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of December 2013, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following:

Michael D. Marin
Boulette & Golden, LLP
2801 Via Fortuna, Suite 530
Austin, Texas 78746
(512) 732-8924
(512) 732-8905 (fax)
mmarin@boulettegolden.com

Gretchen L. Jankowski
Jordan M. Webster
Buchanan Ingersoll & Rooney PC
One Oxford Centre, 20th Floor
301 Grant Street
Pittsburgh, PA 15219
(412) 562-8800
(412) 562-1041 (fax)
gretchen.jankowski@bipc.com
jordan.webster@bipc.com

ATTORNEYS FOR DEFENDANTS



                                                  /s/ Matthew C. Powers
                                                  Matthew C. Powers




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
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KEY INGREDIENT CORPORATION,                          §
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                        Plaintiff,                   §
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     v.                                              §        Civil Action No. 1:12-cv-01169-JRN
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S.A.S. d/b/a SAS SEB, SEB S.A. d/b/a GROUPE          §
SEB, and SEB ALLIANCE d/b/a GROUPE SEB               §
ALLIANCE,                                            §
                    Defendants.                      §

                                             ORDER

          The Court has considered the agreed motion to approve settlement, filed by Plaintiff and

Defendants. Having considered the motion pursuant to Rule 23.1 of the Federal Rules of Civil

Procedure, the Court finds (i) that Key Ingredient Corporation has only two shareholders –

Plaintiff Goodman and Defendant SEB Alliance, and (ii) that each shareholder of Key Ingredient

Corporation has notice of, and has expressly agreed to, the terms of the proposed settlement.

The Court is satisfied that the purposes of Rule 23.1 have been achieved. It is therefore

          ORDERED that the parties’ proposed settlement be, and it hereby is, APPROVED; and it

is

          FURTHER ORDERED that the parties shall promptly file appropriate papers to achieve

dismissal of this action.

          SIGNED this ___ day of December, 2013.

                                       ___________________________________
                                       THE HONORABLE JAMES R. NOWLIN
                                       UNITED STATES DISTRICT JUDGE


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